        Case 1:24-cv-05982-ER          Document 25 Filed 01/10/25 Page 1 of 2
                                                 U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     86 Chambers Street
                                                     New York, New York 10007



                                                     January 10, 2025

BY ECF
The Honorable Edgardo Ramos
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

               Re:    New York Times Co., et al. v. U.S. Department of Justice, National Security
                      Division, et al., No. 24 Civ. 5982 (ER)

Dear Judge Ramos:

       This Office represents Defendants U.S. Department of Justice, National Security Division
(“NSD”), Federal Bureau of Investigation (“FBI”), National Security Agency (“NSA”), and
Office of the Director of National Intelligence (“ODNI”) (the “Government”) in the above-
referenced case. I write on behalf of all parties pursuant to the Court’s order at the initial
conference held on November 12, 2024, that the parties submit joint status reports every 45 days.
Nov. 12, 2024, Minute Entry; see also Dkt. No. 24 (extending deadline for first status report).

        As explained at the initial conference, and set forth in Defendants’ answer to the
complaint, two of the four defendant agencies have, in the Government’s view, completed their
response to Plaintiffs’ requests. See Dkt. No. 21 at 7-8. Specifically, ODNI performed a search
that did not reveal any responsive records, and NSA performed a search and provided the
responsive documents that were identified to Plaintiffs on August 21, 2024. (Plaintiffs reserve
the right to challenge the adequacy of ODNI’s search and the redactions in records produced by
NSA.) With respect to the other two agencies, NSD has conducted a search of its unclassified
systems and its classified systems and identified both unclassified and classified records that
appear responsive. NSD is reviewing those records to determine whether they require
consultation with, or referral to, other organizations. FBI has completed its search and has not
identified any responsive records. (Plaintiffs also reserve the right to challenge the adequacy of
this search.) The Government is not yet in a position to provide a timeline for the completion of
NSD’s review but expects to be able to do so in the next status report.

       The parties will submit their next status report in 45 days—by February 24, 2025.
       Case 1:24-cv-05982-ER        Document 25       Filed 01/10/25    Page 2 of 2

The Honorable Edgardo Ramos
Page 2

                                            Respectfully submitted,

                                            EDWARD Y. KIM
                                            Acting United States Attorney for the
                                            Southern District of New York

                                        By: s/ Rachael Doud
                                            RACHAEL DOUD
                                            Assistant United States Attorney
                                            86 Chambers St., 3rd Floor
                                            New York, New York 10007
                                            (212) 637-2699

cc:   All counsel of record (via ECF)
